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12                           IN THE UNITED STATES DISTRICT COURT

13                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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16
     HINDU AMERICAN FOUNDATION, INC.,                   Case No. 2:22-CV-01656-DAD-JDP
17   a Florida Not-For-Profit Corporation;
     SAMIR KALRA; MIHIR MEGHANI;
18   SANGEETHA SHANKAR; DILIP AMIN,
     SUNDAR IYER, RAMANA KOMPELLA                    NOTICE OF MOTION AND MOTION
19   as individuals; and DOE PLAINTIFFS ONE          TO DISMISS FIRST AMENDED
     TO THREE,                                       COMPLAINT PURSUANT TO
20                                                   YOUNGER ABSTENTION DOCTRINE,
                                         Plaintiffs, RULE 12(b)(1), AND RULE 12(b)(6);
21                                                   MEMORANDUM OF POINTS AND
                   v.                                AUTHORITIES IN SUPPORT OF
22                                                   MOTION TO DISMISS FIRST
                                                     AMENDED COMPLAINT
23   KEVIN KISH, an individual, in his official
     capacity as Director of the California Civil
24   Rights Department; and DOES 1-50,               Date:         August 20, 2024
     inclusive,                                      Time:         1:30 p.m.
25                                                   Judge:        Hon. Dale A. Drozd
                                       Defendants.
26                                                   Action Filed: September 20, 2022
                                                     First Am. Compl Filed: September 21, 2023
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 1    TO THE COURT AND TO THE PLAINTIFFS’ COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on August 20, 2024, at 1:30 p.m., or as soon thereafter as

 3    the Court may hear this matter, Defendant Kevin Kish, Director of the California Civil Rights

 4    Department, will and hereby does move to dismiss this action pursuant to the Younger abstention

 5    doctrine or, in the alternative, under Federal Rule of Civil Procedure 12(b)(1) because no Plaintiff

 6    has standing to pursue this matter and any Equal Protection Clause claims Plaintiffs Iyer and

 7    Kompella may have had are moot, and Rule 12(b)(6) on the grounds that the complaint fails to

 8    state a claim upon which relief can be granted. Pursuant to the Court’s Standing Order in Civil

 9    Cases (ECF No. 3-1), the hearing will be held by Zoom.

10          Counsel for the parties met and conferred by phone and videoconference on December 12,

11    2023, and January 30, May 16, and May 17, 2024 for a combined total of approximately three

12    hours to discuss Plaintiffs’ claims and the substance of this motion. (Declaration of Carly J.

13    Munson in Support of Motion to Dismiss First Amended Complaint and Request for Judicial

14    Notice ¶¶ 5-9). Counsel have also communicated by email and have been unable to reach an

15    agreement as to the issues presented herein. (Id. ¶¶ 8-9). Defendant Kish certifies, through

16    counsel, that meet and confer efforts have been exhausted and accordingly refers this matter to

17    the Court for resolution. (Id. ¶¶ 5-9).

18          This motion is based on this Notice of Motion and Motion to Dismiss; the accompanying

19    Memorandum of Points and Authorities; the accompanying Request for Judicial Notice; the

20    accompanying Declaration of Carly J. Munson, counsel for Defendant Kish, and the exhibits

21    thereto; all pleadings and papers on file in this action; and such other matters as the Court may

22    deem appropriate.

23    /

24    /

25    /

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     Case 2:22-cv-01656-DAD-JDP Document 41 Filed 05/20/24 Page 13 of 50


 1    Dated: May 20, 2024                                  Respectfully submitted,

 2                                                         ROB BONTA
                                                           Attorney General of California
 3                                                         MICHAEL NEWMAN
                                                           Senior Assistant Attorney General
 4                                                         WILLIAM H. DOWNER
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 5

 6                                                         /s/ Carly J. Munson

 7                                                         CARLY J. MUNSON
                                                           JENNIFER M. SOLIMAN
 8                                                         Deputy Attorneys General
                                                           Attorneys for Defendant Kevin Kish,
 9                                                         Director of the California Civil Rights
                                                           Department
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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2                                             INTRODUCTION
 3           In October 2020, the California Civil Rights Department (“CRD” or “the Department”)

 4    exercised its statutory authority under the Fair Employment and Housing Act (“FEHA”) to

 5    initiate an enforcement action in state court on behalf of Mr. Chetan Narsude against his

 6    employer Cisco Systems, Inc. (“Cisco”) and two of its supervisors, now-Plaintiffs Sundar Iyer

 7    and Ramana Kompella. The Department’s state court action alleges that Mr. Narsude has

 8    suffered discrimination, harassment, and retaliation based on his Dalit caste, in violation of the

 9    FEHA’s prohibition against discrimination and harassment based on national origin/ethnicity,

10    ancestry, race/color, and religion. (See ECF No. 21, Exhibit (“Exh.”) A, CRD Employment

11    Discrimination Complaint Against Cisco Systems 1; see also Cal. Gov’t Code § 12965). 2 Nearly

12    two years after the Department filed its suit against Cisco (referred to hereinafter as the “State

13    Action” or “CRD v. Cisco”), Plaintiff Hindu American Foundation (“HAF”) filed this federal

14    action against the Department’s Director, Kevin Kish, under section 1983 of Title 42 of the

15    United States Code (“Section 1983”), alleging that the Department’s efforts to remedy caste-

16    based discrimination at Cisco violate the United States Constitution’s Free Exercise Clause of the

17    First Amendment and the Due Process and Equal Protection Clauses of the Fourteenth

18    Amendment by linking the practice of caste discrimination to Hinduism. Through this suit, HAF

19    sought to have this Court declare the Department’s state suit against Cisco unconstitutional and

20    enjoin the Department from pursuing certain types of future employment discrimination actions,

21    in contravention of its statutory mandate. See, e.g., Gov’t Code § 12930(f)(1).

22           Director Kish filed a motion to dismiss this action under Federal Rule of Civil Procedure

23    12(b)(1) and (b)(6) because HAF failed to plead facts showing that it had standing to bring this

24    lawsuit and failed to state a claim. (ECF No. 8). On August 31, 2023, this Court granted

25           1
                Plaintiffs’ Exhibit A to its First Amended Complaint (ECF No. 21 at 37-56) is the original
      complaint filed by the Department against Cisco in Santa Clara County Superior Court in October 2020.
26    However, the Department has since amended its complaint twice. (See Declaration of Carly J. Munson in
      Support of Motion to Dismiss First Amended Complaint and Request for Judicial Notice (“Munson
27    Decl.”) ¶ 10). For the Court’s convenience, Defendant Kish has provided the operative complaint in CRD
      v. Cisco with his concurrently filed Request for Judicial Notice. (Munson Decl., Exh. C).
28            2
                Unless otherwise noted, all references are to current California state laws and regulations.
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 1    Defendant Kish’s motion based on HAF’s lack of standing and dismissed HAF’s suit in its

 2    entirety pursuant to Rule 12(b)(1) but granted HAF an opportunity to amend its complaint to

 3    correct the deficiencies. (ECF No. 20 at 20).

 4            On September 21, 2023, HAF filed its First Amended Complaint (“FAC”), adding nine

 5    new individual plaintiffs (collectively the “Individual Plaintiffs”)—including three unnamed

 6    “Doe” plaintiffs whose identities are unknown to the Department and Director Kish—and two

 7    new claims under the United States Constitution’s Establishment Clause of the First Amendment

 8    and Equal Protection Clause of the Fourteenth Amendment. (ECF No. 21). However, the crux of

 9    Plaintiffs’ complaint—disagreement with the Department’s efforts to enforce the FEHA and

10    remedy caste-based discrimination through the State Action—remains the same. HAF’s amended

11    complaint, which offers generalizations and conclusory assertions instead of factual allegations

12    supporting its theories of standing and claims, fails to cure the fatal defects in its suit. This action

13    continues to lack merit and should be dismissed without further leave for opportunity to amend.

14            First, Younger v. Harris, 401 U.S. 37, 54 (1971), requires that this Court abstain from

15    hearing Plaintiffs’ constitutional claims because Plaintiffs have had an opportunity to raise their

16    claims—and indeed have raised their constitutional claims in a motion to intervene—in the

17    ongoing State Action. And since Plaintiffs seek only declaratory and injunctive relief, such

18    abstention warrants dismissal. Second, Plaintiffs’ claims must be dismissed pursuant to Rule

19    12(b)(1) because not one Plaintiff has standing to pursue this matter. None of the Plaintiffs have

20    suffered or face imminent threat of a real and concrete injury-in-fact, let alone one reasonably

21    traceable to CRD v. Cisco and redressable by this suit. And HAF has failed to cure its

22    organizational standing deficiencies previously addressed by this Court. Third, Plaintiffs Iyer’s

23    and Kompella’s Equal Protection Clause claims must be dismissed pursuant to Rule 12(b)(1)

24    because they are moot. Both Plaintiffs were dismissed with prejudice from CRD v. Cisco prior to

25    their joining this suit, leaving no other relief the Court could hypothetically grant for these claims.

26    Fourth, even if Plaintiffs could establish standing—and they cannot—the lawsuit must be

27    dismissed under Rule 12(b)(6) because, despite HAF having had an opportunity to amend, and in

28    doing so joined the Individual Plaintiffs, all Plaintiffs have failed to state a viable claim for relief.
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 1    Plaintiffs again omit key elements and raise claims that lack any cognizable legal theory.

 2    Moreover, Plaintiffs’ claims are supported by vague, hypothetical, and speculative allegations

 3    insufficient to meet the pleading standard. And even if Plaintiffs could plead facts sufficient to

 4    give rise to viable claims—they cannot—the crux of their complaint falls within matters properly

 5    subject to prosecutorial discretion and not well-suited for judicial review. Accordingly,

 6    Plaintiffs’ suit must be dismissed and without leave to amend, as any further opportunities to

 7    amend would be futile.

 8                                              BACKGROUND
 9    I.    THE PARTIES
10          Defendant Kevin Kish is the Department’s Director. The Department is a state agency

11    charged with enforcing California’s civil rights laws, including the FEHA, which the Legislature

12    has declared to be “an exercise of the police power of the state for the protection of the welfare,

13    health, and peace of the people of [California].” Gov’t Code § 12920. The FEHA empowers the

14    Department to receive, investigate, conciliate, and litigate complaints that allege violations of the

15    laws that are within the broad scope of its jurisdiction. Gov’t Code §§ 12930(f), 12965.

16          Plaintiff HAF describes itself as the largest Hindu “educational and advocacy institution” in

17    the nation. (ECF No. 21 ¶¶ 1, 30). HAF alleges that it has various “members,” “supporters,” and

18    “constituents,” some of whom reside or work in California. (Id. ¶¶ 33-38, 40, 44).

19          In addition to HAF, nine Individual Plaintiffs have been added to this lawsuit since the

20    Court dismissed HAF’s original complaint with leave to amend. Plaintiffs Samir Kalra and

21    Sangeetha Shankar practicing Hindu Americans of Indian descent who reside in California and

22    work for HAF. (Id. ¶¶ 2, 10).

23          Plaintiff Dr. Mihir Meghani is a co-founder of HAF and is a practicing Hindu American of

24    Indian descent who works as an emergency room physician in California. (Id. ¶ 8). Plaintiff

25    Dilip Amin states is a practicing Hindu American of Indian descent who lives in California. (Id.

26    ¶ 12). Doe Plaintiffs One, Two, and Three (collectively, the “Doe Plaintiffs;” individually “Doe

27    One,” “Doe Two” and “Doe Three”) allege that they are Hindu Americans of South Asian

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 1    descent who work in the “technology sector” and reside in California. (ECF No. 21 ¶¶ 21-23). 3

 2          Plaintiffs Sundar Iyer and Ramana Kompella are former defendants in CRD v. Cisco. (ECF

 3    No. 21, Exh. A; Munson Decl., Exhs. H, I). Mr. Iyer is an American of Indian descent who

 4    resides in California, but no longer works at Cisco, and does not practice Hinduism or any other

 5    organized religion. (ECF No. 21 ¶¶ 15, 20). Mr. Kompella is a practicing Hindu American of

 6    Indian descent who resides in California and continues to work at Cisco. (ECF No. 21 ¶¶ 17, 20).

 7          HAF alleges that the nine new Individual Plaintiffs are “typical members” of HAF. (Id. ¶

 8    42). However, none of the Individual Plaintiffs provide facts regarding their “membership.” (Id.

 9    ¶¶ 1-20). Similarly, other than Ms. Shankar and Mr. Kalra who are HAF employees (id. ¶¶ 2,

10    20), the remaining seven Individual Plaintiffs do not provide any information about their current,

11    specific connections to, or any roles within, the organization. (Id. ¶¶ 8-9, 12-23).

12    II.   THE DEPARTMENT’S ONGOING EFFORTS TO REMEDY WORKPLACE
            DISCRIMINATION AND HARASSMENT AGAINST DALIT WORKERS AT CISCO
13

14          After receiving and investigating a complaint by one of Cisco’s workers, Mr. Narsude, the

15    Department filed an employment discrimination action against Cisco and two of its supervisors—

16    Mr. Iyer and Mr. Kompella—in Santa Clara County Superior Court in October 2020. 4 (See

17    Munson Decl., Exh. C, ¶¶ 11-17, 28; ECF No. 21, Exh. A). The Department’s pending lawsuit

18    against Cisco alleges that Cisco subjected Mr. Narsude to discrimination, harassment, and

19    retaliation based on his status as a Dalit Indian in violation of the FEHA. (See, e.g., Munson

20    Decl., Exh. C, ¶¶ 1, 4, 28, 48, 53-54, 62-64).

21          The Department seeks compensatory and punitive damages for Mr. Narsude, including

22    back pay, as well as injunctive relief to eradicate “discrimination and harassment based on

23    religion, ancestry, national origin/ethnicity, and race/color” against Dalit Indians at Cisco. (Id. at

24    18-19). The Department also seeks changes to Cisco’s “policies, practices, and programs that

25            3
                 As discussed in the Department’s concurrently filed Opposition to Doe Plaintiffs’ Motion to
      Proceed Under Pseudonyms, Doe Plaintiffs have not disclosed their identities to Director Kish or his
26    counsel, and have not met and conferred regarding their request to proceed under pseudonyms. (See ECF
      Nos. 40, 40-1). Accordingly, like the Court, Director Kish has very limited information regarding the Doe
27    Plaintiffs. (See ECF No. 21 ¶¶ 21-23).
               4
                 Supervisors can be held individually liable for harassment under the FEHA. See Gov’t Code §§
28    12926(t), 12940(j).
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 1    provide equal employment opportunities for individuals regardless of their religion, ancestry,

 2    national origin/ethnicity, and race/color” to eradicate the effects of Cisco’s “past and present

 3    unlawful employment practices.” (Id.)

 4          The two Cisco supervisors, Mr. Iyer and Mr. Kompella, sought to be dismissed from the

 5    Department’s state suit. Pursuant to a settlement with Mr. Iyer and Mr. Kompella, the

 6    Department voluntarily dismissed its claims against the two supervisors on April 11, 2023.

 7    (Munson Decl., Exhs. A at 2:11-13, 5:8-10, H, I).

 8          On January 7, 2021, HAF filed a motion to intervene in the Department’s State Action.

 9    (See ECF No. 10-1, Exh. B, HAF Mot. to Intervene and Complaint in Intervention). The

10    allegations raised in this federal complaint—that the Department conflates or improperly

11    attributes the caste system to Hinduism—are virtually identical to those HAF raised in its motion

12    for leave to intervene. (See id. at 1-9). After hearing argument in November 2023, the Superior

13    Court denied HAF’s motion for leave to intervene on January 31, 2024. (Munson Decl., Exh. E).

14    HAF filed a notice of appeal, but abandoned its appeal on May 1, 2024. (Id., Exhs. F, G).

15          Following the Superior Court’s denial of HAF’s motion for leave to intervene and denial of

16    the Department’s motion to use a fictitious name to refer to Mr. Narsude, and with the permission

17    of the court, the Department amended its state complaint to: (1) remove all claims against Mr.

18    Iyer and Mr. Kompella; (2) identify the Department’s complainant, Mr. Narsude, by name; and

19    (3) remove the statement “As a strict Hindu social and religious hierarchy, India’s caste system

20    defines a person’s status based on their religion, ancestry, national origin/ethnicity, and

21    race/color—or the caste into which they are born—and will remain until death” as well as the

22    corresponding citation to the Human Rights Watch report. (Id., Exhs. A-C). This 20-page second

23    amended complaint, which is the operative complaint in the State Action, references Hinduism

24    only once – noting that Mr. Narsude identifies as Hindu. (Id., Exh. C, ¶ 29). As before, the

25    Department’s complaint links Mr. Narsude’s own caste to multiple identity vectors, not just his

26    religion. (Id. at 2 fn. 1, ¶¶ 1, 48, 53-54, 62-64).

27

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 1          On April 26, 2024, Cisco—the only remaining defendant in the State Action—filed its

 2    answer to the Department’s Second Amended Complaint. (Munson Decl. ¶ 10). This matter is

 3    ongoing in the Santa Clara County Superior Court. (Id. ¶¶ 4, 10).

 4                                            LEGAL STANDARD
 5          Federal Rule of Civil Procedure 12(b)(1) provides for dismissal of an action for “lack of

 6    subject matter jurisdiction.” A Rule 12(b)(1) motion can challenge the sufficiency of the

 7    pleadings to establish jurisdiction (facial attack), or a lack of any factual support for the subject

 8    matter jurisdiction regardless of the pleading’s sufficiency (factual attack). Safe Air for Everyone

 9    v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (citing to White v. Lee, 227 F.3d 1214, 1242 (9th

10    Cir. 2000). Although the Court generally resolves a facial attack on the pleadings under Rule

11    12(b)(1) by “[a]ccepting the plaintiff’s allegations as true and drawing all reasonable inferences in

12    the plaintiff’s favor, the court determines whether the allegations are sufficient as a legal matter to

13    invoke the court’s jurisdiction.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).

14    Moreover, the Court need not assume the truth of legal conclusions cast in the form of factual

15    allegations. Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003). And

16    the Court may look beyond the complaint to consider documents, such as relevant pleadings in

17    CRD v. Cisco, that are proper subjects of judicial notice. See Carpenter v. OneWest Bank, FSB,

18    No. 12-cv-00895-MMM-OP, 2012 WL 13012420, at *2 (C.D. Cal. Apr. 25, 2012); see also Leite,

19    749 F.3d at 1121; Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1016 n.9 (9th Cir. 2012).

20    Plaintiffs, rather than the moving party, have the burden of establishing jurisdiction. See

21    Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994).

22           Rule 12(b)(6), in turn, requires a complaint to be dismissed if it fails to state a claim upon

23    which relief can be granted. “To survive a motion to dismiss, a complaint must contain sufficient

24    factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

25    v. Iqbal, 556 U.S. 662, 678 (2009). A claim is “plausible” if a plaintiff pleads facts which

26    “allow[] the court to draw the reasonable inference that the defendant is liable for the misconduct

27    alleged.” Id. at 678. A “threadbare recital[] of the elements of a cause of action, supported by

28    mere conclusory statements, do[es] not suffice.” Id. In ruling on a motion to dismiss, the court
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 1    may consider documents referenced in the complaint as well as matters subject to judicial notice.

 2    United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

 3                                                ARGUMENT
 4    I.    THE YOUNGER ABSTENTION DOCTRINE REQUIRES THAT THE COURT ABSTAIN
            FROM HEARING PLAINTIFFS’ CLAIMS AND DISMISS THE SUIT
 5

 6          The Younger abstention doctrine directs federal courts to abstain from granting injunctive

 7    or declaratory relief that would interfere with pending state judicial proceedings. Hirsh v.

 8    Justices of the Sup. Ct. of State of Cal., 67 F.3d 708, 712 (9th Cir. 1995) (citing Younger v.

 9    Harris, 401 U.S. 37, 40–41 (1971)). Absent “extraordinary circumstances,” abstention in favor of

10    state judicial proceedings is required if the state proceedings take the form of a criminal

11    prosecution or civil proceedings that are akin to prosecutions, New Orleans Pub. Serv., Inc. v.

12    Council of New Orleans (NOPSI), 491 U.S. 350, 367-68 (1989), and: (1) are ongoing, (2)

13    implicate important state interests, and (3) provide the plaintiff an adequate opportunity to litigate

14    federal claims. Hirsh, 67 F.3d at 712 (citing Middlesex Cnty. Ethics Comm. v. Garden State Bar

15    Ass’n, 457 U.S. 423, 432 (1982)). In addition, the Ninth Circuit has “articulated an implied

16    fourth requirement that: (4) the federal court action would ‘enjoin the proceeding, or have the

17    practical effect of doing so.’” Potrero Hills Landfill, Inc. v. Cnty. of Solano, 657 F.3d 876, 882

18    (9th Cir. 2011) (citation omitted). Courts may resolve threshold issues such as Younger

19    abstention before addressing jurisdictional questions under Rule 12(b). See, e.g., Steel Co. v.

20    Citizens for Better Env’t, 523 U.S. 83, 100 n.3 (1998); Tenet v. Doe, 544 U.S. 1, 6-7 n.4 (2005).

21          Abstention is appropriate based on “interests of comity and federalism [that] counsel

22    federal courts to abstain from jurisdiction whenever federal claims could have been or could be

23    presented in ongoing state judicial proceedings that concern important state interests.” Lebbos v.

24    Judges of the Super. Ct., 883 F.2d 810, 813 (9th Cir. 1989). “Where vital state interests are

25    involved, a federal court should abstain ‘unless state law clearly bars the interposition of the

26    constitutional claims.’” Middlesex, 457 U.S. at 432 (quoting Moore v. Sims, 442 U.S. 415, 426

27    (1979)). This case meets each of the criteria warranting abstention.

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 1          A.    The Department’s Pending Enforcement Action Against Cisco in State
                  Court is the Civil Equivalent of a Criminal Prosecution and, Therefore,
 2                Falls Under the Second NOPSI Category

 3          The Department’s ongoing State Action is a “civil enforcement proceeding” akin to a

 4    criminal prosecution in “important respects” and warrants Younger abstention. NOPSI, 491 U.S.

 5    at 368 (citing, e.g., Huffman v. Pursue, Ltd., 420 U.S. 592, 604 (1975)). Such proceedings are

 6    characteristically formal complaints or charges filed by a state sovereign or actor following an

 7    investigation to challenge some wrongful act. Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 79-

 8    80 (2013) (citing Ohio Civil Rights Comm’n v. Dayton Christian Schools, Inc. 477 U.S. 619, 624

 9    (1986); Middlesex, 457 U.S. at 433-34).

10          CRD v. Cisco is such a civil proceeding that is akin to a criminal prosecution under NOPSI.

11    As discussed above, the Department is charged with enforcing California’s civil rights laws,

12    including the FEHA, which the Legislature has declared to be “an exercise of the police power of

13    the state for the protection of the welfare, health, and peace of the people of [California].” Gov’t

14    Code § 12920. The central purpose of the FEHA is to prevent, eliminate, and remedy

15    discrimination in employment, housing, and other aspects of daily living. Gov’t Code §§ 12920-

16    21, 12930 & 12948 (incorporating the Unruh Civil Rights Act, the Ralph Civil Rights Act, and

17    Government Code § 11135 into the FEHA and CRD’s enforcement authority); see also Harris v.

18    City of Santa Monica, 56 Cal. 4th 203, 223-24 (2013). Accordingly, courts have acknowledged

19    that, like criminal prosecutors, the Department “‘is a public prosecutor testing a public right,’

20    when it pursues civil litigation to enforce statutes within its jurisdiction.” Dep’t of Fair Emp. &

21    Hous. v. Law Sch. Admission Council, Inc., 941 F. Supp. 2d 1159, 1168 (N.D. Cal. 2013)

22    (quoting State Pers. Bd. v. Fair Emp. & Hous. Comm’n, 39 Cal. 3d 422, 444 (1985)).

23          In this case, the Department received a complaint from Mr. Narsude that alleged his

24    employer, Cisco, was discriminating against him in violation of state laws. (See Munson Decl.,

25    Exh. C ¶ 11; see also Gov’t Code § 12930(f)(1)). After investigating Mr. Narsude’s complaint,

26    the Department exercised its authority as a public prosecutor when it initiated the pending state

27    enforcement, CRD v. Cisco, to remedy Cisco’s alleged discrimination, harassment, and retaliation

28    against Mr. Narsude based on his status as a Dalit Indian in violation of the FEHA. (See Munson
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 1    Decl., Exh. C ¶¶ 12-16; see also Gov’t Code § 12965). This is precisely the type of civil

 2    enforcement proceeding that resembles a criminal prosecution under NOPSI and warrants

 3    Younger abstention.

 4          B.    The Four Additional Factors for Younger Abstention Are Also Satisfied
 5          The four additional factors for Younger abstention are also satisfied here. First, CRD v.

 6    Cisco was initiated prior to this federal action and remains active and ongoing in Santa Clara

 7    County Superior Court. (See ECF No. 21, Exh. A; CRD v. Cisco, Case No. 20-cv-3722366

 8    (Santa Clara Cnty. Super. Ct.)).

 9          Second, CRD v. Cisco implicates the important state interest of eliminating discrimination

10    within the State. See Dayton Christian Schools, 477 U.S. at 628 (recognizing “the elimination of

11    prohibited sex discrimination is a sufficiently important state interest”). Indeed, California has its

12    own anti-discrimination statute to interpret and enforce in its action against Cisco. See,

13    e.g., Gov’t Code § 12920, et seq. (it is “the public policy of [California] that it is necessary to

14    protect and safeguard the right and opportunity of all persons to seek, obtain, and hold

15    employment without discrimination or abridgement on account of race, religious creed, color,

16    national origin, [or] ancestry,” among other characteristics.) Moreover, where—as here—“the

17    state is in an enforcement posture in the state proceedings, the ‘important state interest’

18    requirement is easily satisfied, as the state’s vital interest in carrying out its executive functions is

19    presumptively at stake.” Potrero Hills Landfill, Inc., 657 F.3d at 883-84.

20          Third, all Plaintiffs have had an adequate opportunity to raise their constitutional claims in

21    the State Action, which has been pending for three and-a-half years. Under Younger, federal

22    litigants such as Plaintiffs need only be afforded an opportunity to fairly pursue their

23    constitutional claims in the ongoing state proceedings. Moore, 442 U.S. at 430 & n. 12 (quoting

24    Juidice v. Vail, 430 U.S. 327, 337 (1977). Success on the merits of those claims is immaterial; it

25    matters only that litigants have an opportunity to make their argument. See Dubinka v. Judges of

26    Super. Ct. of State of Cal. for Cnty. of L.A., 23 F.3d 218 (9th Cir. 1994).

27          Plaintiffs—not the Department—bear the burden of demonstrating that California law

28    procedurally bars or prevents them from presenting their constitutional claims in the pending state
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 1    court matter. Id. at 14-16; see also Lebbos, 883 F.2d at 815. Here, Plaintiff HAF brought its

 2    constitutional challenges to the Department’s State Action in state court via a motion to intervene

 3    in the State Action. (ECF No. 10-1, Exh. B (HAF Motion to Intervene and Complaint in

 4    Intervention); Munson Decl., Exh. D (Reply in Support of HAF’s Motion to Intervene)). When

 5    the trial court denied HAF’s request to intervene on the merits (Munson Decl., Exh. E), HAF had

 6    the opportunity to appeal and it initiated such an appeal in March 2024 (id., Exh. F). HAF then

 7    elected to voluntarily abandon its efforts to intervene to have the constitutional claims presented

 8    here heard in the State Action (id., Exh. G) once it became clear that the Second Amended

 9    Complaint had been accepted (see ECF No. 33 ¶ 9).

10          As to the Individual Plaintiffs, the Court should presume that they, like HAF, had an

11    opportunity to present their claims in the State Action. The Individual Plaintiffs all claim to be

12    aligned with, or members of, proposed-intervenor HAF. Moreover, “when a litigant has not

13    attempted to present his federal claims in related state-court proceedings, a federal court should

14    assume that state procedures will afford an adequate remedy, in the absence of unambiguous

15    authority to the contrary.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987).

16          Fourth, Younger abstention is appropriate because allowing this action to proceed would

17    interfere with and effectively enjoin CRD v. Cisco. In their FAC, Plaintiffs specifically ask to

18    have the Department’s actions in CRD v. Cisco declared unconstitutional under the First and

19    Fourteenth Amendments and enjoin further action. (ECF No. 21 at 35:9-13). Such an order

20    would directly intrude on the Superior Court’s jurisdiction over the ongoing State Action. This

21    Court should refrain from interfering with or enjoining the ongoing State Action.

22          C.    As Plaintiffs Seek Only Injunctive and Declaratory Relief, Younger
                  Abstention Warrants Dismissal
23
            When a court abstains under Younger, claims for injunctive and declaratory relief are
24
      typically dismissed, whereas claims for damages are stayed. Herrera v. City of Palmdale, 918
25
      F.3d 1037, 1042 (9th Cir. 2019). Here, Plaintiffs seek only injunctive and declaratory relief. (See
26
      ECF No. 21 at 35). Accordingly, the Court should abstain under Younger and dismiss all of
27
      Plaintiffs’ claims.
28
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 1    II.   PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST BE DISMISSED BECAUSE THEY
            LACK STANDING TO PURSUE THIS LITIGATION
 2
              Standing is a jurisdictional requirement that the party invoking federal jurisdiction has the
 3
      burden of establishing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). “First, the
 4
      plaintiff must have suffered an ‘injury in fact’—an invasion of a legally protected interest which
 5
      is (a) concrete and particularized, and (b) ‘actual or imminent, not conjectural or hypothetical.’”
 6
      Id. at 560 (citations omitted). “Second, there must be a causal connection between the injury and
 7
      the conduct complained of—the injury has to be ‘fairly trace[able] to the challenged action of the
 8
      defendant, and not th[e] result [of] the independent action of some third party not before the
 9
      court.’” Id. (citations and ellipsis omitted, alterations in original). “Third, it must be ‘likely,’ as
10
      opposed to merely ‘speculative,’ that the injury will be redressed by a favorable decision.” Id. at
11
      561 (citations omitted). These constitutional requirements are “rigorous.” Valley Forge
12
      Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 475 (1982).
13
              Here, Plaintiffs fail the standing requirement at every step of the inquiry. No matter how
14
      liberally the Court construes it, the FAC is devoid of any allegations that the Individual Plaintiffs
15
      have suffered a “concrete and particularized” injury that could be traced to anything the
16
      Department did or failed to do. And HAF has neither demonstrated that it has suffered the kind
17
      of forced redeployment of resources required to have standing in its own right, nor clearly
18
      articulated a “constituency” on whose behalf it can fairly speak in this matter, let alone that HAF
19
      is experiencing the requisite direct harm caused by the Department’s State Action. The Court
20
      therefore lacks subject-matter jurisdiction over Plaintiffs’ claims. See Pershing Park Villas
21
      Homeowners Ass’n v. United Pac. Ins. Co., 219 F.3d 895, 899 (9th Cir. 2000) (stating that
22
      standing is a jurisdictional issue).
23
            A.    Plaintiffs Do Not Have Direct Standing to Pursue this Litigation
24
                  1.     Plaintiffs have not demonstrated that they have suffered cognizable
25                       injuries-in-fact as a result of CRD v. Cisco

26          Plaintiffs allege that they have suffered three types of injuries as a result of the

27    Department’s actions in CRD v. Cisco. First, the Individual Plaintiffs allege that they have

28    standing to challenge CRD v. Cisco because they have experienced various psychological and
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 1    spiritual harms as a result of their knowledge of the suit or discussions with third-parties. Second,

 2    Mr. Iyer and Kompella further allege that they have suffered reputational harm as a result of

 3    being former defendants in the State Action. Third, HAF alleges that it has suffered direct injury

 4    because its staff have allegedly been maligned by the State Action and it has had to spend time

 5    and resources educating people about Hinduism since the State Action was filed. None of these

 6    alleged injuries rise to the level of a cognizable injury-in-fact—let alone one redressable through

 7    any relief the Court could order through this lawsuit—thus no Plaintiff has established direct

 8    standing to bring this suit.

 9                       a.    Individual Plaintiffs’ alleged psychological and spiritual harms
                               are not a cognizable injuries-in-fact under any claim presented
10

11          The FAC alleges that the Department is pursuing enforcement actions under the FEHA that

12    “wrongly assert” that “a caste system and caste-based discrimination are integral parts of Hindu

13    teachings and practices.” (ECF No. 21 at 2). As a result of their awareness of CRD v. Cisco and

14    resulting conversations with third-parties, the Individual Plaintiffs allege that they have generally

15    experienced psychological and spiritual discomforts, including fears about the future. (See, e.g.,

16    id. ¶¶ 9, 11, 13-14, 21-23).

17          Yet apart from conclusory allegations, conjecture, and expressions of personal offense—

18    which the Court need not accept as true—the FAC offers no plausible factual basis showing they

19    suffered injury under the Free Exercise, Establishment, Due Process, or Equal Protection Clauses

20    connected to the Department’s actions such that they would have standing to maintain this action

21    in federal court. See Winsor v. Sequoia Benefits & Ins. Servs., LLC, 62 F.4th 517, 523–25 (9th

22    Cir. 2023) (holding that, under Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), “[a]t the

23    pleading stage, plaintiffs must clearly allege facts demonstrating each element” of Article III

24    standing and that the Iqbal, 556 U.S. 662, pleading standards therefore apply in assessing the

25    facial adequacy of allegations of standing); see also Namisnak v. Uber Techs., Inc., 971 F.3d

26    1088, 1092 (9th Cir. 2020). Moreover, psychological and spiritual harms alone—allegedly

27    arising out of the Department’s actions or engaging in conversations with other third-parties

28    outside of the Department’s control—are insufficient to convey standing under the claims
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 1    asserted. See Or. Prescription Drug Monitoring Program v. United States Drug Enf’t Admin.,

 2    860 F.3d 1228, 1233 (9th Cir. 2017) (“‘[T]he standing inquiry requires careful judicial

 3    examination of a complaint’s allegations to ascertain whether the particular plaintiff is entitled to

 4    an adjudication of the particular claims asserted.’” (emphasis in original, citation omitted)).

 5          First, to establish a violation of the Free Exercise Clause, a plaintiff must prove that a

 6    government action had a coercive effect on their practice of religion. See, e.g., Bd. of Educ. of

 7    Cent. Sch. Dist. v. Allen, 392 U.S. 236, 249 (1968) (finding no free exercise violation since the

 8    plaintiffs had “not contended that the [statute in question] in any way coerce[d] them as

 9    individuals in the practice of their religion.”); Sabra v. Maricopa Cnty. Cmty. Coll. Dist., 44 F.4th

10    867, 890 (9th Cir. 2022) (requiring when the challenged government action is neither regulatory,

11    proscriptive or compulsory, alleging a subjective chilling effect on free exercise rights is not

12    sufficient to constitute a substantial burden). Yet Plaintiffs’ FAC is devoid of allegations that the

13    Department’s State Action has constrained any Individual Plaintiffs’ ability to practice—or not

14    practice—their religion. 5 And all of the Individual Plaintiffs state that they disavow the very

15    activity CRD seeks to redress in CRD v. Cisco: caste-based discrimination. (Id. at 3:24-26).

16    Accordingly, the State Action poses no plausible imminent threat of harm to the Individual

17    Plaintiffs’ religious practice, a practice that they themselves allege does not involve the conduct

18    that the Department seeks to stop. See Kumar v. Koester, 683 F. Supp. 3d 1108, 1115-16 (C.D.

19    Cal. 2023) (finding that Hindu plaintiffs who were university professors lacked standing to assert

20    a Free Exercise Clause challenge to the use of “caste” in the university’s anti-discrimination

21    policy because the plaintiffs “emphatically denounce[d] the caste system and reject[ed] the notion

22    that it is part of their religion” and thus the policy did “not threaten any of [p]laintiffs’ rights to

23    practice their religion”). This Court has already indicated in dismissing HAF’s original complaint

24    that there is no standing to bring a free exercise claim based on the challenged conduct (wrongly

25    defining Hinduism “to include an abhorrent practice of discrimination”) absent an allegation that

26    this mis-definition “burdens, operates against, or otherwise infringes on the practice of Hinduism

27            5
                 Moreover, Mr. Iyer states that he does not believe or practice any religion and for that reason
      alone has no standing to bring a free exercise claim. (ECF No. 21 ¶ 15). By contrast, the other Individual
28    Plaintiffs state that they practice Hinduism. (Id. ¶¶ 2, 8, 10, 12, 17, 21-23).
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 1    by any individual.” (ECF No. 20 at 15-16 (quoting ECF No. 1 ¶ 29)). Thus, Plaintiffs lack

 2    standing to bring free exercise claims.

 3          Plaintiffs also allege in conclusory fashion that the Department has somehow “imposed

 4    special disabilities on Hindu Americans” by wrongly associating a caste system with Hinduism.

 5    (ECF No. 21 ¶¶ 95-96). Laws that target religious observers and subject them to different

 6    treatment based on their religious status—creating so-called “special disabilities”—may violate

 7    the Free Exercise Clause. See Espinoza v. Mont. Dep’t of Revenue, 591 U.S. 464, 473-76 (2020).

 8    However, Plaintiffs have alleged no specific facts showing that the Department has or is treating

 9    the eight Individual Plaintiffs who practice Hinduism differently from others who do not practice

10    a religion. On the contrary, the Department’s suit seeks to ensure that Cisco’s workers are

11    afforded their rights as guaranteed by the FEHA regardless of their religion, ancestry, national

12    origin/ethnicity, and race/color. (See, e.g., Munson Decl., Exh. C at 18-19).

13          Second, to establish a claim under the Establishment Clause, plaintiffs who rely on

14    psychological and spiritual harms must show that those harms are tied to real consequences in

15    their particular political community. Catholic League for Religious & C.R. v. City & Cnty. of

16    S.F., 624 F.3d 1043, 1051-53 (9th Cir. 2010). Psychological consequences produced by mere

17    observation of or disagreement with a government’s actions are not injuries sufficient to confer

18    standing under the Establishment Clause. Id.; see also Valley Forge Christian Coll., 454 U.S. at

19    485-86.

20          Relying on Catholic League, the Individual Plaintiffs contend that the psychological and

21    spiritual injuries they have sustained from CRD v. Cisco suffice to confer standing in this case.

22    (ECF No. 21 ¶¶ 7, 40 (citing Catholic League, 624 F.3d at 1049)). Yet Catholic League is

23    unavailing. In that case, a Catholic civil rights organization had standing to challenge a Board of

24    Supervisors’ resolution because the specific psychological harm its members or constituents

25    allegedly suffered as a result—“exclusion or denigration on a religious basis”—was both within

26    their own “political community” of San Francisco and supported by extensive and detailed factual

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 1    allegations, including supporting declarations. Id. at 1051-53. 6 Here, by contrast, the FAC is

 2    devoid of facts demonstrating that Individual Plaintiffs belong to an analog “political community”

 3    or that their access to and inclusion in that “political community” has been chilled or curtailed in

 4    any way, let alone chilled due to the Department’s actions in CRD v. Cisco. 7 Although the

 5    Plaintiffs allege in conclusory form that they have been “denigrated” and treated like “second-

 6    class citizens,” the FAC provides no concrete examples of such denigrating treatment nor how it

 7    is fairly traceable to Director Kish and the Department. 8 The Individual Plaintiffs are thus

 8    distinctly unlike the plaintiffs in Catholic League—a discrete group of devout Catholics who lived

 9    in San Francisco and thus were directly affected by the San Francisco government’s resolution

10    about their religion—and have not demonstrated the requisite concrete harm for standing under

11    the Establishment Clause.

12          Third, to bring a pre-enforcement void for vagueness challenge under the Due Process

13    Clause, a plaintiff must show that the law being challenged has “‘chilled [their ability to]

14    engag[e] in constitutionally protected activity.’” Montclair Police Officers’ Ass’n v. City of

15    Montclair, No. 2:12-cv-06444-PSG-PLA, 2012 WL 12888427, at *4 (C.D. Cal. Oct. 24, 2012)

16    (quoting Bankshot Billiards, Inc. v. City of Ocala, 634 F.3d 1340, 1350 (11th Cir. 2011)). Thus,

17    to have standing, a plaintiff must allege injury in the form of a chilling effect. Yet the Individual

18    Plaintiffs have failed to allege any activity that has been chilled by the Department’s efforts in the

19    State Action, let alone a constitutionally protected activity. (See ECF No. 21 ¶¶ 101-112).

20          Moreover, the only injury to which the Individual Plaintiffs allude in their void for

21            6
                 Nevertheless, though a split panel held the organization had standing, as discussed below, there
      was no Establishment Clause violation. Catholic League, 624 F.3d at 1048, 1051-53.
22             7
                 At most, Individual Plaintiffs all allege that they are Californians. (See ECF No. 21 ¶¶ 2, 8, 10,
      12, 15, 17, 21-23). But the entire state of California is not a discrete “political community” as
23    contemplated under Catholic League. See Catholic League, 624 F.3d at 1048, 1051-53 (“Had a Protestant
      in Pasadena brought this suit [regarding the San Francisco Board of Supervisor's resolution about the
24    Catholic Church], he would not have had standing.”). And, in any case, Plaintiffs do not—and cannot
      plausibly—allege that the State Action has had any direct consequences on the entire state of California;
25    Cisco is the only entity in California that is subject to the State Action.
               8
                 A few Individual Plaintiffs allege that they have been “ostracized” or treated poorly by their
26    peers at their workplaces, and that they blame CRD v. Cisco for this treatment by third parties. (ECF No.
      21 ¶¶ 9, 22, 23). But these experiences, too, if substantiated, are not a parallel to the type of harm in
27    Catholic Charities, where it was the government's own actions—not those of third-parties outside of the
      government's control—that allegedly directly denigrated Catholics within the San Francisco community.
28    Catholic Charities, 624 F.3d at 1051-1053.
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 1    vagueness claim is hypothetical and speculative: that the State Action might have the opposite

 2    effect and encourage caste-based discrimination. (ECF No. 21 ¶¶ 109-111). For example,

 3    Plaintiffs continue to speculate that the Department’s action against a single California

 4    employer—Cisco—will somehow sweepingly “require” all employers “to accommodate an

 5    employee’s request not to work with someone the employee believes to be of the ‘wrong’ or

 6    different caste” or a “request not to be supervised by, or to supervise, persons perceived to be of

 7    the ‘wrong’ or different caste.” (Id. ¶ 109). The Court has already rejected this hypothetical

 8    injury:

 9          [T]he notion that the Department’s allegations in the state court complaint—a civil rights
            enforcement lawsuit seeking to stop and prevent caste-based discrimination—would
10
            somehow lead other Hindu Americans to make religious accommodation requests to
11          discriminate against co-workers based on their perceived caste and that employers might
            then actually grant those requests due to their interpretation of the Department’s allegations
12          in the Santa Clara action is both highly speculative and seemingly implausible. Such an
            attenuated chain of events without connection any individual facing this purported and
13          speculative harm is plainly insufficient to establish standing.
14    (ECF No. 20 at 14-15, citing Summers v. Earth Island Inst., 555 U.S. 488, 495-96 (2009);
15    Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410-11 (2013)). Thus, the Individual Plaintiffs do
16    not have standing to challenge CRD v. Cisco under the Due Process Clause.
17          Fourth, to state a claim under the Equal Protection Clause, a plaintiff “must show that the
18    defendants acted with an intent or purpose to discriminate against the plaintiff based upon
19    membership in a protected class,” and that the plaintiff was treated differently from persons
20    similarly situated. Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998) (citing Washington
21    v. Davis, 426 U.S. 229, 239-40 (1976)); see Citizens for Fair Representation v. Padilla, 815 F.
22    App’x 120, 123 (9th Cir. 2020) (holding that the plaintiff lacked standing to assert an equal
23    protection challenge to California’s constitutional cap on the number of its state legislative
24    districts as racially discriminatory because “they have not adequately alleged that some votes are
25    weighted less than others based on race”). Plaintiffs’ FAC raises two claims under the Equal
26    Protection Clause. The first alleges that the Department has discriminated against all Individual
27

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 1    Plaintiffs on the basis of religion. 9 The second alleges that the Department has discriminated

 2    against Mr. Iyer and Mr. Kompella on the basis of national origin. Plaintiffs have not pled facts

 3    sufficient to have standing under either theory.

 4          With regard to religion, the FAC does not allege any facts that plausibly suggest that the

 5    Department has applied the FEHA in a discriminatory manner against the Individual Plaintiffs—

 6    but not as to others—because of their faith and identify the concrete injuries they have suffered as

 7    a result. (See, e.g., ECF No. 21 ¶¶ 101-112). With regard to national origin, neither Mr. Iyer nor

 8    Mr. Kompella have pled facts sufficient to establish standing under the Equal Protection Clause.

 9    Mr. Iyer claims that the Department discriminated against him on the basis of national origin by

10    identifying him as Hindu. (ECF 21 ¶ 129). First, based on the facts as alleged, it is unclear how

11    incorrectly identifying a person as Hindu causes injury based on that person’s national origin.

12    Second, this allegation lacks a basis in fact: the Department did not allege that Mr. Iyer was

13    Hindu in CRD v. Cisco while he was a defendant. (See ECF No. 21, Exh. A). Regardless, Mr.

14    Iyer does not allege that the Department has treated anyone of any other national origin

15    differently and thus does not have standing to raise a claim for national origin discrimination

16    under the Equal Protection Clause. (See ECF No. 21 ¶¶ 125-136).

17          Although Mr. Iyer and Mr. Kompella also allege in bare terms that they have experienced

18    vague reputational harm, the FAC contains insufficient facts to substantiate such injuries. (See

19    ECF No. 21, ¶¶ 15-20). Simply claiming one’s reputation has been harmed is insufficient to

20    establish an injury-in-fact for standing. See, e.g., Phillips v. United States Customs & Border

21    Prot., 74 F.4th 986, 992 (9th Cir. 2023) (citing TransUnion LLC v. Ramirez, 594 U.S. 413, 438-

22    39 (2021)) (holding no injury where plaintiffs did not demonstrate that the inaccurate credit

23    information allegedly created in violation of federal law posed a tangible harm to the plaintiffs’

24    finances in the future). And, in any case, the Court need not take Mr. Iyer’s and Mr. Kompella’s

25

26            9
                Within the context of their discrimination claim based on religion, the Individual Plaintiffs also
      claim that the Department has wrongly identified some Indian Americans as Hindu even though the
27    Department allegedly knows they are not Hindu, and that this constitutes discrimination “against non-
      Hindu Indian Americans based on national origin.” (ECF No. 21 ¶ 121). These allegations do not state a
28    cognizable claim for religious discrimination under the Equal Protection Clause.
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 1    conclusory allegations of reputational harm at face value. See Iqbal, 556 U.S. at 678; Sprewell v.

 2    Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).

 3                      b.     HAF has not demonstrated that it has been forced to take
                               action to avoid other injury as a result of CRD v. Cisco
 4

 5          On amendment, HAF asserts that it has direct standing. (ECF No. 21 ¶¶ 46-52). An

 6    organization that seeks to establish standing in its own right must show that: (1) the defendant’s

 7    actions have frustrated its mission; and (2) it has spent resources counteracting that frustration.

 8    Our Watch with Tim Thompson, v. Bonta, 682 F. Supp. 3d 838, 847 (E.D. Cal. 2023) (citing Valle

 9    del Sol Inc. v. Whiting, 732 F.3d 1006, 1018 (9th Cir. 2013); see also E. Bay Sanctuary Covenant

10    v. Biden, 993 F.3d 640, 663 (9th Cir. 2021). “Frustration of mission cannot just be a setback to an

11    organization’s values or interests, it must result in ‘an actual impediment to the organization's

12    real-world efforts on behalf of such principles.’” Our Watch with Tim Thompson, 682 F. Supp.

13    3d at 848 (citing In Def. of Animals v. Sanderson Farms, Inc., No. 3:20-cv-05293-RS, 2021 WL

14    4243391, at *3 (N.D. Cal. Sept. 17, 2021)); cf. Havens Realty Corp. v. Coleman, 455 U.S. 363,

15    379 (1982) (organization suffered injury-in-fact where the defendant’s practices “perceptibly

16    impaired [the organization’s] ability to provide counseling and referral services”) (emphasis

17    added). Relatedly, “organizations cannot ‘manufacture the injury by incurring litigation costs or

18    simply choosing to spend money fixing a problem that otherwise would not affect the

19    organization at all[.]’” E. Bay Sanctuary Covenant, 993 F.3d at 663 (quoting La Asociacion de

20    Trabajadores de Lake Forest v. Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010)). Rather, an

21    organizational plaintiff must show they “would have suffered some other injury” had they “not

22    diverted resources to counteracting the problem.” La Asociacion, 624 F.3d at 1088. Thus, “[a]n

23    organization may sue only if it was forced to choose between suffering an injury and diverting

24    resources to counteract the injury.” Id. at 1088 n.4 (emphasis added).

25           HAF has not pled facts showing that the Department’s State Action has frustrated its

26    mission. (See ECF No. 21 ¶¶ 30-32, 46-52). In its FAC, HAF makes only vague references to its

27    broad mission and to its alleged ordinary activities. HAF states that it is “an educational and

28    advocacy organization” whose “mission focuses on advancing the understanding of Hinduism to
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 1    secure the rights and dignity of Hindu Americans now and for generations to come.” (Id. ¶ 30).

 2    Its ordinary activities include “work[ing] with state boards of education and publishers to ensure

 3    Hinduism is portrayed accurately . . . in textbooks,” “educat[ing] policymakers,” and “pursu[ing]

 4    impact litigation and participa[ting] as amicus curiae when the civil rights of Hindu Americans

 5    are at risk.” (Id. ¶¶ 30-31). Yet the FAC lacks the requisite allegations demonstrating that the

 6    Department’s State Action has specifically impacted HAF’s regular functioning and frustrated its

 7    mission. In fact, the advocacy and educational outreach HAF alleges it has undertaken in

 8    response to third-party inquiries about CRD v. Cisco as well as HAF’s instant federal action

 9    appear to fall squarely within HAF’s stated mission and ordinary activities. (See ECF No. 21 ¶¶

10    30-32, 37-38, 41). And HAF concedes that the Department’s own goal of “[s]topping caste-based

11    discrimination is a worthy goal that directly furthers Hinduism’s teachings[.]” (Id. at 5:13-14).

12           Even if HAF had adequately alleged cognizable frustration of its mission (it has not), it

13    has still failed the second requirement by failing to allege any facts to “show [it] ‘would have

14    suffered some other injury’ had [it] ‘not diverted [] resources to counteracting” the Department’s

15    State Action, let alone what that other injury would have been. See La Asociacion, 624 F.3d at

16    1088. HAF is not subject to the Department’s efforts to remedy caste-based discrimination at

17    Cisco. In fact, the Department has taken no action at all against HAF or its staff. Further, HAF

18    has not described with any specificity how it has been forced to reallocate resources from its core

19    activities, nor what activities it was prevented from undertaking as a result. HAF alleges that it

20    has had to spend “considerable time and resources” to “defend the integrity of Hinduism” since

21    the Department filed its State Action (ECF No. 21 ¶ 47), but provides no details as to what this

22    has entailed, other than to state that Mr. Kalra, its Managing Director, has allegedly “spent

23    hundreds of hours . . . responding to media inquiries . . . and developing educational materials for

24    a variety of stakeholders” (id. ¶ 4) and that HAF has “faced a barrage of calls and concerns from

25    Hindu Americans living in California” (id. ¶ 48).

26           These allegations are insufficient to establish that HAF has only been able to avert injury

27    to itself from the State Action by redirecting its resources, in the manner it has alleged, to

28    counteract that injury. And, as discussed above, even if it is true that HAF has received calls
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 1    about CRD v. Cisco and spent time creating resource materials about Hinduism as a result, these

 2    actions appear to fall within—rather than outside of—their stated ordinary activities. (See id. ¶¶

 3    30-32, 37-38, 41).

 4                2.    Plaintiffs’ generalized grievances are not redressable
 5          To establish standing, “it must be ‘likely,’ as opposed to merely ‘speculative,’ that the

 6    [plaintiff’s] injury will be ‘redressed by a favorable decision.’” Lujan, 504 U.S. at 560-61 (citing

 7    Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 38, 43 (1976)). A remedy must “operate with

 8    respect to specific parties,” not “in the abstract” giving way to a highly attenuated chain of

 9    possibilities. Cal. v. Tex., 593 U.S. 659, 671-72 (2021). Plaintiffs have not met this standard.

10          Plaintiffs do not allege any facts that establish that a favorable decision is likely to remedy

11    the psychological, spiritual, or reputational harm they allege that they have experienced. And

12    even if this Court agreed with Plaintiffs’ premise that the Department has erred in some way in

13    the State Action, the relief that Plaintiffs seek here would not operate to change the minds of

14    third-parties regarding either Hinduism or caste-based systems. Instead, without identifying a

15    single, tangible injury, Plaintiffs seek sweeping declaratory and injunctive relief that would

16    effectively halt not only the Department’s State Action, but any future enforcement action by the

17    Department related to discrimination based on caste status and all civil rights enforcement actions

18    concerning a religious or sociological feature. (See ECF No. 21 at 35). Yet none of the Plaintiffs

19    are parties to CRD v. Cisco, nor allege that they are facing an imminent threat of the type of anti-

20    discrimination action they seek to prevent. Moreover, even if successful in the State Action, the

21    Department does not seek and could not obtain relief that would affect or change the conditions

22    of any non-party individual Hindu American, Indian American, or South Asian American, let

23    alone all such individuals in the United States or California. (See Munson Decl., Exh. C at 18-

24    19). The state court does not have the jurisdiction to order relief against entities and individuals

25    who are not party to the State Action, such as Plaintiffs. Accordingly, Plaintiffs have not

26    established that their alleged harm is likely to be redressed by a favorable decision from this

27    Court.

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 1          B.    HAF Does Not Have Associational Standing to Pursue this Litigation

 2          HAF also asserts that it has associational standing to bring this lawsuit. (ECF No. 21 ¶¶ 26-

 3    29). To invoke associational standing, an organization must allege facts demonstrating that: “(1)

 4    its members would otherwise have standing to sue in their own right; (2) the interests it seeks to

 5    protect are germane to the organization’s purpose; and (3) neither the claim asserted nor the relief

 6    requested requires the participation of individual members in the lawsuit.” Am. Unites for Kids v.

 7    Rousseau, 985 F.3d 1075, 1096 (9th Cir. 2021) (citing Hunt v. Wash. State Apple Advert.

 8    Comm’n, 432 U.S. 333, 343 (1977)). Although formal membership is not always required for

 9    organizational standing, a plaintiff-organization that lacks membership must nonetheless establish

10    that it “‘is sufficiently identified with and subject to the influence of those it seeks to represent as

11    to have a personal stake in the outcome of the controversy.’” Id. at 1096 (internal citations

12    omitted) (quoting Or. Advoc. Ctr. v. Mink, 322 F.3d 1101, 1111 (9th Cir. 2003)). HAF has again

13    failed to meet its burden. The FAC fails to: (1) identify a clear constituency whose interests HAF

14    can appropriately represent in this suit; and (2) otherwise satisfy the three Hunt factors.

15                1.     HAF has not identified a clear constituency, let alone one that has
                         suffered the requisite injury and whose interests HAF can represent
16                       in this suit

17            As in its original complaint, HAF alleges that it is the “largest and most respected Hindu

18    educational and advocacy institution in North America.” (ECF No. 21 ¶ 1). Although HAF has

19    added allegations that vaguely describe its mission and “guiding principles” (id. ¶¶ 30, 32) as well

20    as some of its educational and advocacy activities (see, e.g., id. ¶¶ 30-31, 37-38, 41), it again has

21    not provided sufficient detail to establish the constituency it purports to represent. Viewed in the

22    most generous light, HAF appears to allege that it represents all Hindu Americans, Indian

23    Americans (both Hindu and non-Hindu), and South Asian Americans (both Hindu and non-

24    Hindu). (Id. ¶¶ 30, 39, 41, 44-45). If so, HAF’s purported constituency is significantly larger and

25    more diffuse than those that courts have found appropriate for purposes of associational standing.

26    See Or. Advocacy Ctr., 322 F.3d at 1111-12 (plaintiff’s constituency defined as criminal

27    defendants with intellectual disabilities in Oregon); Am. Unites for Kids, 985 F.3d at 1096-97

28    (plaintiff’s constituency defined as public school teachers at the Malibu campuses of a school
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 1    district); Catholic League, 624 F.3d at 1048, 1063-64 (plaintiff’s constituency defined as

 2    approximately 6,000 devout Catholics in San Francisco). In each of these cases, the plaintiffs

 3    alleged specific facts to show that they served the clearly defined, specialized group that had been

 4    or would be directly affected by the government’s actions. HAF has identified no such clear,

 5    specialized segment of Hindu Americans, Indian Americans, or South Asian Americans who have

 6    cognizable injuries from CRD v. Cisco.

 7            Moreover, as in its original complaint, HAF fails to explain how it is “sufficiently

 8    identified with and subject to the influence” of the very broad and diffuse range of constituents it

 9    seeks to represent in this lawsuit. Or. Advocacy Ctr., 322 F.3d at 1112. HAF does not explain,

10    for example, how it is funded, how it is organized, or what interaction it has with its purported

11    constituency beyond accepting donations, conducting largely unspecified education activities, and

12    interacting with select individuals such as “scholars” and “scholar-practitioners.” (See ECF No.

13    21 ¶¶ 30-45). HAF alleges that it receives guidance from a ten-person “National Leadership

14    Council” and a 17-person “Advisory Committee,” some of whom “reside and/or work in

15    California,” but it provides no information regarding how contact with these unspecified

16    individuals—or any of its other activities—adequately enables HAF to speak on behalf of an

17    alleged constituency as large as all Hindu Americans, Indian Americans, and South Asian

18    Americans. (Id. ¶¶ 34-35). HAF also alleges that the Individual Plaintiffs are all “supporters,

19    members, or constituents,” but provides no detail to support this allegation. (Id. ¶ 40). 10 For

20    example, HAF provides no information about which Individual Plaintiffs fall into which category,

21    when or how any of the Individual Plaintiffs became HAF’s “members[] or constituents,” or how

22    HAF engages with them such that it can represent their interests in this lawsuit.

23                 2.    On amendment, HAF has not satisfied the Hunt factors for
                         associational standing
24

25          Even if HAF had pled facts sufficient to establish that it has a clear constituency on whose

26    behalf it can fairly and adequately speak—it did not—HAF’s associational standing fails because

27
              10
                  And HAF provides no legal authority for the proposition that having undefined “supporters”
28    satisfies the indicia of membership in order to convey organizational standing. (See ECF No. 21).
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 1    it has not satisfied the other necessary factors. See Hunt, 432 U.S. at 342-43.

 2          First, associational standing requires that HAF’s individual members or constituents have

 3    suffered “injury in fact”—an invasion of a legally protected interest that is: (a) concrete and

 4    particularized; and (b) actual or imminent, and not conjectural or hypothetical—that is caused by

 5    the Department’s conduct and redressable by a favorable decision. Lujan, 504 U.S. at 560-561.

 6    Yet HAF again fails to explain how its constituents have been or are imminently in danger of

 7    being harmed by CRD v. Cisco such that those constituents would have standing to bring any of

 8    the claims asserted. (See ECF No. 21). Although HAF alleges without evidence that each of the

 9    Individual Plaintiffs are “members” or “constituents,” as discussed above (see Section II.A.1.a,

10    supra at 14-20), none of them have suffered a cognizable injury—that is, a “concrete” and

11    “particularized” injury that is “real and not abstract”—as is required to have standing. See

12    Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016). Accordingly, the Individual Plaintiffs cannot

13    convey associational standing to HAF.

14            Second, as discussed above, Plaintiffs’ generalized grievances are not redressable through

15    this lawsuit. (See Section II.A.2, supra at 22).

16            Third, HAF has not shown that representing its “members” or “constituents” in this suit is

17    germane to its organizational purpose. Hunt, 432 U.S. at 342-43. Germaneness can be

18    demonstrated by showing that the association or organization is “the defendant’s natural

19    adversary.” United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544,

20    556 (1996). However, the facts as pled in Plaintiffs’ complaint show that, far from being natural

21    adversaries, Plaintiff and the Department share objectives, including opposing discrimination.

22    Plaintiff describes itself as a Hindu education and advocacy organization that “works with a wide

23    range of people and groups that are committed to promoting dignity, mutual respect, and

24    pluralism, working across all sampradaya (Hindu religious traditions) regardless of race, color,

25    national origin, citizenship, ancestry, gender, sexual orientation, age, and/or disability.” (ECF

26    No. 21 ¶ 54). 11 In addition, HAF avers that it “vehemently opposes all types of discrimination”

27            11
                 Although HAF purports to advocate more broadly on behalf of Indian Americans and South
      Asian Americans (including non-Hindus), this is reflected neither in its stated mission (ECF No. 21 ¶ 30)
28    nor in the vague descriptions of its advocacy activities (id. ¶¶ 30-38).
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 1    (Id. at 4:1) and that “stopping caste-based discrimination is a worthy goal that directly furthers

 2    Hinduism’s belief in the equal and divine essence of all people” (Id. at 5:13-14). The

 3    Department’s goals are similar. It is a state agency charged with advancing the rights of all

 4    Californians to be free from discrimination. (See Munson Decl., Exh. C ¶¶ 16, 51-52, 61-62, 72-

 5    73, 82-83, 94-95). The Department’s lawsuit, which is aimed at ending discrimination against

 6    Dalit workers at Cisco, shares these same objectives rather than contravenes them. (See id.)

 7          In determining germaneness, courts also consider whether the civil action will address the

 8    needs of the plaintiff’s members. See United Food & Com. Workers Union Loc. 751, 517 U.S. at

 9    555-56 (“Hunt’s second prong . . . demand[s] that an association plaintiff be organized for a

10    purpose germane to the subject of its member’s claim raises an assurance that the association’s

11    litigators will themselves have a stake in the resolution of the dispute[.]”). HAF cannot

12    demonstrate such a stake. At least some Hindu Americans residing in California—for example,

13    Mr. Narsude and others who believe they have been the victims of caste-based discrimination at

14    Cisco—may have interests that conflict with HAF’s purpose in this lawsuit as they may stand to

15    benefit from the Department’s efforts to prevent and redress discrimination against workers based

16    on their perceived or actual status as victims of caste discrimination.

17          When evaluating germaneness, courts also look to the unity or diversity of views within an

18    organization. A diversity of opinion within an organization’s own members destroys

19    associational standing. See, e.g., Harris v. McRae, 448 U.S. 297, 321 (1980) (rejecting a religious

20    group’s associational standing challenge to the Hyde Amendment because the group held a

21    diversity of views on abortion). HAF previously admitted that “Hinduism represents a broad and

22    diverse faith, with each of the over 1.2 billion Hindus’ [sic] understanding its wisdom based on

23    their own study, practice, and experience of its precepts.” (ECF No. 1 ¶ 8). Although HAF has

24    amended this allegation to instead describe Hinduism as “a broad, pluralistic family of traditions,”

25    it nonetheless still concedes that it is a “divers[e]” religion not “bound together . . . by a single

26    spiritual founder, authority or book.” (ECF No. 21 ¶ 55). Thus, even assuming HAF could

27    represent all Hindu Americans, by its own admission, its membership would naturally include a

28    diversity of viewpoints on caste discrimination in the United States. Indeed, it was one such
                                                      26
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 1    individual’s complaint to the Department that catalyzed the pending suit in the first instance. (See

 2    Munson Decl., Exh. C ¶¶ 1-6, 11-15, 17). Accordingly, HAF’s action against the Department

 3    does not benefit all Hindu Americans—or all Indian Americans or South Asian Americans—and

 4    is not germane to its stated mission and purpose.

 5          Finally, HAF’s assertion of associational standing fails because its claims and requested

 6    relief require individual participation by its members or constituents. See, e.g., McRae, 448 U.S.

 7    at 321 (“‘[I]t is necessary in a free exercise case for one to show the coercive effect of the

 8    enactment as it operates against him in the practice of his religion’” (citation omitted)); New

 9    Hampshire Motor Transp. Ass’n v. Rowe, 448 F.3d 66, 72 (1st Cir. 2006), aff’d, 552 U.S. 364,

10    128 S. Ct. 989 (2008) (Fourteenth Amendment claims require individual members’ participation

11    where a complaint is so vague as to require a “sufficiently fact-intensive inquiry” into

12    individualized member’s situations to establish the claims). Accordingly, HAF cannot proceed

13    with this action under an associational standing theory in the absence of identifiable individual

14    members or constituents who have experienced the requisite injury-in-fact and would themselves

15    have standing to bring the claims HAF seeks to assert.

16          Because HAF has not identified a cognizable constituency or satisfied the Hunt factors, it

17    lacks associational standing to bring this suit.

18    III. IN THE ALTERNATIVE, PLAINTIFFS IYER’S AND KOMPELLA’S EQUAL PROTECTION
           CLAUSE CLAIMS MUST BE DISMISSED AS MOOT
19

20          Federal courts “are without power to decide questions that cannot affect the rights of

21    litigants in the case before them.” North Carolina v. Rice, 404 U.S. 244, 246 (1971); see also

22    U.S. Const. art. III, § 2. The federal court’s inability “to review moot cases derives from the

23    requirement that Article III of the Constitution under which the exercise of judicial power

24    depends upon the existence of a case or controversy.” Liner v. Jafco, Inc., 375 U.S. 301, 306 n.3

25    (1964). “A case is moot when the issues presented are no longer ‘live’ or the parties lack a

26    legally cognizable interest in the outcome.” City of Erie v. Pap's A.M. 529 U.S. 277, 287 (2000).

27    Motions to dismiss on mootness grounds are properly brought under Rule 12(b)(1) of the Federal

28    Rules of Civil Procedure. White, 227 F.3d at 1242.
                                                     27
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 1          The central issue in any mootness challenge is whether the federal court can afford the

 2    plaintiffs any meaningful, effective relief. West v. Secretary of Dep’t of Transp., 206 F.3d 920,

 3    925 (9th Cir. 2000). Unless the plaintiff can obtain such relief if they prevail, any opinion as to

 4    the legality of the challenged action would be advisory. City of Erie, 529 U.S. at 287. And “[i]t

 5    has long been settled that [federal courts lack] authority to give opinions upon moot questions or

 6    abstract propositions, or to declare principles or rules of law which cannot affect the matter in

 7    issue in the case before [the court].” DHX, Inc. v. Allianz AGF MAT, Ltd., 425 F.3d 1169, 1174

 8    (9th Cir. 2005).

 9          Here, Plaintiffs Iyer and Kompella complain that the Department was wrong to bring

10    charges against them under the FEHA for their actions while acting as supervisors at Cisco. (ECF

11    No. 21 ¶¶ 15-20). Mr. Iyer alleges that he should not have been named as a defendant in CRD v.

12    Cisco because the Department was “aware that [he] was irreligious or an agnostic and did not

13    identify with any caste[.]” (Id. ¶ 16). Mr. Kompella alleges that he should not have been named

14    as a defendant because the Department was factually mistaken about actions he took in his role as

15    Mr. Narsude’s supervisor. (Id. ¶ 18). Even if Mr. Iyer’s and Mr. Kompella’s allegations are

16    taken as true for purposes of this motion, any claims premised on their involvement in the

17    ongoing State Action are moot.

18          In April 2023—five months before HAF amended its complaint to include Mr. Iyer and Mr.

19    Kompella as Individual Plaintiffs—the Department dismissed all claims against Mr. Iyer and Mr.

20    Kompella with prejudice. (See Munson Decl., Exhs. H, I). Accordingly, Mr. Iyer and Mr.

21    Kompella cannot—and do not—plausibly allege that there is any ongoing conduct as to their

22    status as defendants in CRD v. Cisco for this Court to enjoin.

23          Nor is there any possibility that the alleged wrongdoing by CRD giving rise to Mr. Iyer and

24    Mr. Kompella’s Equal Protection Clause claims will recur, given their dismissal with prejudice.

25    Although a defendant’s voluntary cessation of challenged conduct does not always moot a case, it

26    will do so if it is “absolutely clear that the allegedly wrongful behavior could not reasonably be

27    expected to recur.” Adarand Constructors, Inc. v. Slater 528 U.S. 216, 221 (2000); see also

28
                                                        28
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 1    Sossamon v. Lone Star State of Tex., 560 F.3d 316, 325 (5th Cir. 2009) (holding that a public

 2    entity’s cessation is given greater weight than that of private entities).

 3          Absent a live case or controversy, Mr. Iyer and Mr. Kompella, at most, seek an advisory

 4    opinion about the constitutionality of the Department’s prosecutorial charging decisions, which

 5    this Court cannot provide. 12 Mr. Iyer’s and Mr. Kompella’s Equal Protection Clause claims must

 6    be dismissed as moot.

 7    IV.   PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST BE DISMISSED BECAUSE IT FAILS
            TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
 8
            A.     Plaintiffs Fail to State a Claim for Relief Under the Establishment Clause
 9

10          The Establishment Clause provides that the government “shall make no law respecting an

11    establishment of religion.” U.S. Const. amend. I. The Establishment Clause protects citizens

12    from the government coercing them into attending a religious institution, engaging in formal

13    religious exercises, or making religious observance compulsory. Kennedy v. Bremerton School

14    Dist., 597 U.S. 507, 536-37 (2022). Under the “Lemon test,” a government's action survives an

15    Establishment Clause challenge if: (1) it has a secular legislative purpose; (2) its principal or

16    primary effect neither advances nor inhibits religion; and (3) it does not foster an excessive

17    government entanglement with religion. Lemon v. Kurtzman, 403 U.S. 602, 612-13 (1971); see

18    also Catholic League, 624 F.3d at 1057-58, 1060-61 (holding that San Francisco's resolution

19    protesting the Catholic Church’s refusal to allow same-sex parents to adopt did not satisfy all

20    three prongs of the Lemon test or violate the Establishment Clause). For purposes of determining

21    whether there is a violation of the Establishment Clause, courts view the challenged actions

22    objectively and from the perspective of a reasonable person. Cal. Parents for the Equalization of

23    Educ. Materials v. Torlakson, 973 F.3d 1010, 1021 (9th Cir. 2020).

24          Here, the Department’s conduct in connection with its enforcement action against Cisco

25    easily overcomes the Lemon test and Plaintiffs have not alleged a plausible basis to find

26    otherwise. (See ECF No. 21 ¶¶ 125-136). The Department’s State Action was brought to

27
              12
                Even if Mr. Iyer’s and Mr. Kompella’s claims were not moot, courts are hesitant to review such
28    prosecutorial charging decisions. (See Section IV.D.2, infra at 37-38).
                                                         29
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 1    effectuate its statutory duties under the FEHA, which is a law with the secular purpose of

 2    preventing and redressing discrimination on the basis of protected characteristics, such as race,

 3    religion, ancestry, gender, and sexual orientation. See Gov’t Code §§ 12900-12999; see also N.

 4    Coast Women’s Care Med. Grp., Inc. v. Super. Ct., 44 Cal.4th 1145, 1156 (Cal. Sup. 2008)

 5    (holding that a parallel anti-discrimination law, the Unruh Civil Rights Act, is similarly a valid

 6    law of general applicability). Plaintiffs fail to allege facts showing that the Department’s State

 7    Action has the principal and primary purpose of advancing or inhibiting religion. In any case, the

 8    explicit principal and primary purpose of the State Action is to end discrimination and promote

 9    the equality of all Californians in the workplace—not to advance or inhibit any religion. 13 (See,

10    e.g., ECF No. 21, Exh. A at 18-19; Munson Decl., Exh. C at 18-19). Finally, the State Action—

11    which is against a single, non-religious employer entity, Cisco—does not foster any entanglement

12    with religion, let alone excessive entanglement, and Plaintiffs have not alleged otherwise.

13          The “critical weakness” of Plaintiffs’ claim, therefore, is that the Department’s State

14    Action, “on its face, simply does not discriminate on the basis of religious affiliation or religious

15    belief.” Gillette v. United States, 401 U.S. 437, 450 (1971). Plaintiffs have failed to plead facts

16    that demonstrate that CRD v. Cisco violates the Lemon test by coercing anyone's religious beliefs

17    or practices. Their Establishment Clause claim must be dismissed.

18          B.     Plaintiffs Fail to State a Claim for Relief Under the Free Exercise Clause
19          Plaintiffs claim that the Department has violated their rights under the Free Exercise Clause

20    of the First Amendment. (ECF No. 21 ¶¶ 88-100). To establish a viable free exercise claim a

21    plaintiff must show that a government action substantially burdened or had a coercive effect on

22    their practice of religion. See McRae, 448 U.S. at 321 (quoting Abington School Dist. v.

23    Schempp, 374 U.S. 203, 223 (1963) (organizational plaintiff must demonstrate coercive effect

24    against the practice of individual member’s religions); Jones v. Williams, 791 F.3d 1023, 1031–32

25    (9th Cir. 2015) (citing Graham v. C.I.R., 822 F.2d 844, 851 (9th Cir. 1987), aff’d sub nom.

26    Hernandez v. C.I.R., 490 U.S. 680, 699 (1989) (plaintiff must show that the government action in

27
              13
                Although the State Action is limited to the employment context, the FEHA also applies in other
28    spaces, such as the housing context.
                                                         30
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 1    question substantially burdens the person’s practice of their religion). “‘A substantial burden . . .

 2    place[s] more than an inconvenience on religious exercise; it must have a tendency to coerce

 3    individuals into acting contrary to their religious beliefs or exert substantial pressure on an

 4    adherent to modify his behavior and to violate his beliefs.’” Jones, 791 F.3d at 1031-32 (quoting

 5    Ohno v. Yasuma, 723 F.3d 984, 1011 (9th Cir. 2013) (ellipsis and alteration in original).

 6    However, “the Free Exercise Clause does not inhibit enforcement of otherwise valid regulations

 7    of general application that incidentally burden religious conduct.” Christian Legal Soc’y Chapter

 8    of the Univ. of Cal. Hastings Coll. of Law v. Martinez, 561 U.S. 661, 697 n.27 (2010). Moreover,

 9    plaintiffs seeking relief under the Free Exercise Clause must describe specific experiences and

10    injuries caused by the government’s actions, particularly where an organization attempts to bring

11    those claims on behalf of a membership with potentially diverse viewpoints. McRae, 448 U.S. at

12    321. Plaintiffs have not pled a viable claim under the Free Exercise Clause for multiple reasons.

13          First, the FAC does not allege any facts showing that the Department’s actions have

14    coerced anyone into doing something inimical to their religious convictions or otherwise

15    prevented them from being able to practice their religion. Indeed, it is implausible that a lawsuit

16    seeking to end caste-based discrimination at Cisco could prevent any individuals—let alone all

17    Hindu Americans, Indian Americans, and/or South Asian Americans in California—from

18    practicing their chosen religion. And if—as Plaintiffs plead (ECF No. 21 at 3:24-26, 5:13-14)—

19    Plaintiffs denounce the caste system and reject it as part of their religion, then an enforcement

20    action that seeks to prevent caste-based and other discrimination “does not threaten any of [the]

21    Plaintiffs’ rights to practice their religion.” Kumar, 638 F. Supp. 3d at 1115-16. Accordingly,

22    Plaintiffs have not pled facts sufficient to show that the Department’s State Action have coerced

23    or substantially burdened its members’ ability to practice their religion.

24            Second, the FAC provides no legal authority for its assertion that a state action that

25    “defines” a religion or inaccurately describes that religion’s doctrine violates the Free Exercise

26    Clause. (See ECF No. 21 ¶¶ 88-100). 14 To the contrary, erroneously defining or characterizing a

27            14
                Plaintiffs again cite to Serbian E. Orthodox Diocese for United States & Canada v.
      Milivojevich, 426 U.S. 696 (1976) for the principle that the United States Constitution prohibits “any ‘civil
28
                                                           31
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 1    religion in a pleading is not regulatory, proscriptive, or compulsory, and thus does not have an

 2    unlawful coercive effect on an adherent’s ability to practice their religion. See, e.g., Sabra, 44

 3    F.4th at 890 (when the challenged government action is neither regulatory, proscriptive or

 4    compulsory, alleging a subjective chilling effect on free exercise rights is not sufficient to

 5    constitute a substantial burden). 15

 6          Third, any allegations Plaintiffs do make are clearly cast in hypothetical and speculative

 7    terms that are insufficient to meet the pleading standard. See, e.g., Bell Atl. Corp. v. Twombly,

 8    550 U.S. 544, 555 (2007) (“Factual allegations must be enough to raise a right to relief above a

 9    speculative level[.]”). Although facts are typically accepted as true for the purposes of

10    determining plausibility under Rule 12(b)(6), the plausibility standard is a “context-specific task

11    that requires the reviewing court to draw on its judicial experience and common sense.” Iqbal,

12    556 U.S. at 679. This Court need not blindly accept conclusory allegations, unwarranted

13    deductions of fact, and unreasonable inferences (see Sprewell, 266 F.3d at 988) and should

14    therefore reject such allegations in Plaintiffs’ complaint (see, e.g., ECF No. 21 ¶¶ 14 (speculating

15    that other third-parties could be the subject of future enforcement actions by the Department);

16    106-109 (speculating that hypothetical employers will be forced to “accommodate” future caste-

17    based discrimination requests from hypothetical employees)). As this Court has already noted,

18    Plaintiffs’ allegations are “both highly speculative and seemingly implausible” (ECF No. 20 at

19    14-15), and they remain so despite having had an opportunity to amend.

20            Finally, Plaintiffs’ conclusory statements about the purpose or outcome of the

21    Department’s enforcement action against Cisco cannot be used to reasonably infer that the

22    determination of religious doctrine.’” (ECF No. 21 at 4:10-12, emphasis added). This overstates the
      case’s reach. In Serbian E. Orthodox Diocese, the Supreme Court overturned the Illinois Supreme Court’s
23    attempt to reinstate a bishop who had been suspended from the church, holding that civil courts could not
      substitute their judgments for those espoused by a religious tribunal in such matters. 426 U.S. at 709
24    (“[T]he First . . . Amendment[] mandate[s] that civil courts shall not disturb the decisions of the highest
      ecclesiastical tribunal within a church of hierarchical polity, but must accept such decisions as binding on
25    them, in their application to the religious issues of doctrine or polity before them.”) (emphasis added).
      This matter involves no such tribunal or determination and does not seek to compel anyone to observe
26    Hinduism in any particular way.
               15
                  Although Plaintiffs again cite to Espinoza for the proposition that laws violate the Free Exercise
27    Clause when they “impose special disabilities on the basis of religious status” (ECF No. 21 ¶ 95), they
      provide no factual allegations that plausibly establish that the Department’s State Action creates such a
28    burden. See Espinoza, 591 U.S. at 473-76. (See supra at 16).
                                                           32
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 1    Department has substantially burdened anyone’s exercise of their religion. See Iqbal, 556 U.S. at

 2    678. As discussed above and contrary to Plaintiffs’ assertion, the Department does not seek or

 3    attempt to legally define Hinduism in its State Action, nor to make any “declar[ations] that caste-

 4    based discrimination is a fundamental practice of Hinduism[.]” (Compare ECF No. 21 at 2-3, ¶¶

 5    61-62, 65, 67, 70-71 with Munson Decl., Exh. C). Rather, the Department seeks to prevent Cisco

 6    from engaging in caste-based employment discrimination and to remediate any harms caused by

 7    such unlawful practices. (See Munson Decl., Exh. C at 18-19; see also ECF No. 20 at 14-15).

 8    Apart from noting that Mr. Narsude is Hindu, the Department’s operative complaint contains no

 9    other allegations about Hinduism. (See Munson Decl., Exh. C, ¶ 29). And as the Department has

10    previously addressed, it alleges that the caste-based discrimination against Mr. Narsude was

11    discrimination on the basis of several protected characteristics, including his own ancestry,

12    national origin, race/color, and/or religion. (See id. at 2 n.1). 16

13          Plaintiffs have not alleged that the Department’s actions have substantially burdened or had

14    a coercive effect upon any individual’s practice of their religion, and have not pled a viable claim

15    under the Free Exercise Clause.

16          C.     Plaintiffs Fail to State a Claim for Relief Under the Due Process Clause
17          Plaintiffs also fail to state a viable claim for relief under the Due Process Clause. The Due

18    Process Clause of the Fourteenth Amendment provides that no state may “deprive any person of

19    life, liberty, or property, without due process of law[.]” U.S. Const., amend. XIV. “A [S]ection

20    1983 claim based upon procedural due process thus has three elements: (1) a liberty or property

21    interest protected by the Constitution; (2) a deprivation of the interest by the government; [and]

22    (3) lack of process.” Portman v. Cnty. of Santa Clara, 995 F.2d 898, 904 (9th Cir. 1993); see

23

24
              16
                 Plaintiffs also allege that the Department used “religion as a basis of classification” when it
25    brought CRD v. Cisco against an “‘irreligious’ or Agnostic” defendant, presumably Mr. Iyer. (ECF No. 21
      ¶ 98). This, too, is unavailing. The Department has never alleged that Mr. Iyer subscribed to any
26    particular religion or that he acted in a discriminatory manner because he has a particular religious
      identity. (See id., Exh. A; Munson Decl., Exh. C). Rather, the Department alleged that Mr. Iyer
27    discriminated against Mr. Narsude on the basis of Mr. Narsude’s caste status, which includes Mr.
      Narsude’s own religion. And, in any case, Plaintiffs do not allege that Mr. Iyer’s non-religious beliefs
28    have been coerced or burdened in any way by the State Action. (See ECF No. 21 ¶¶ 15-16, 20, 88-100).
                                                         33
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 1    also Bd. of Regents of State Colls. v. Roth, 408 U.S. 564 (1972); West v. Atkins, 487 U.S. 42

 2    (1988).

 3          Plaintiffs’ Due Process Clause claim, however, appears to be a facial void for vagueness

 4    challenge to the Department’s State Action. (See ECF No. 21 ¶¶ 101-112). Yet Plaintiffs have

 5    again failed to provide any authority for the proposition that a state agency’s initiation of a

 6    lawsuit in accordance with its statutory authority could itself be the basis of a void for vagueness

 7    challenge. And the Department’s State Action is squarely within its statutory mandates. Among

 8    other things, the FEHA charges CRD with the duty to “endeavor to eliminate [] unlawful

 9    employment practice[s],” including by “bring[ing] a civil action in the name of the department,

10    acting in the public interest, on behalf of the person claiming to be aggrieved.” Gov’t Code §§

11    12963.7, 12965(a)(5)(A). The Department “‘is a public prosecutor testing a public right,’ when it

12    pursues civil litigation to enforce statutes within its jurisdiction.” Law Sch. Admission Council,

13    Inc., 941 F. Supp. 2d at 1168 (quoting State Pers. Bd., 39 Cal. 3d at 444). It may seek a wide

14    range of relief, including remedies beyond the interests of the aggrieved party to “‘vindicate’

15    what it considers to be ‘the public interest in preventing . . . discrimination.’” Id. at 1172; see

16    also Gov’t Code § 12965(d) (authorizing any other relief that, in the judgment of the court, will

17    effectuate the purposes of the FEHA). And courts afford state agencies, such as the Department,

18    latitude when carrying out their mandated activities in the broad public interest in other contexts,

19    even where recognized liberty and property interests are implicated. See, e.g., Fields v. Palmdale

20    Sch. Dist., 447 F.3d 1187, 1191 (9th Cir. 2006) (holding that the due process rights of parents to

21    make decisions regarding their children’s education does not entitle individual parents to enjoin

22    school boards from providing information the boards determine to be appropriate in connection

23    with the performance of their educational functions).

24          Plaintiffs also allege that laws “must give fair notice of conduct that is forbidden or

25    required, but again have failed to clearly identify a law that does not do so. (Id. ¶ 104, citing Fed.

26    Commc’ns Comm’n v. Fox TV Stations, Inc., 567 U.S. 239, 253 (2012)). 17 In fact, Plaintiffs

27               Plaintiff also alleges that laws and regulations cannot be “so standardless that [they] authorize[]
                17

      or encourage[] seriously discriminatory enforcement,” but again points to no law or regulation lacking
28    sufficient standards. (ECF No. 21 ¶ 104, citing United States v. Williams, 553 U.S. 285, 304 (2008)).
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 1    appear to concede that the FEHA itself—the only law cited within this claim—is clear on its face.

 2    (See ECF No. 21 ¶¶ 106-08). However, even if Plaintiffs are attempting to assert that the FEHA

 3    itself is void for vagueness, then Plaintiffs’ claim must still be dismissed as they have alleged

 4    insufficient facts to state that claim and, in any case, Defendant Kish does not enact or amend the

 5    FEHA.

 6          Finally, as this Court previously explained, “[a] plaintiff has standing to bring a pre-

 7    enforcement challenge to a vague law on due process grounds where ‘the litigant is chilled from

 8    engaging in constitutionally protected activity.’” (ECF No. 20, citing Montclair Police Officers’

 9    Ass’n, 2012 WL 12888427, at *4 (quoting Bankshot Billiards, Inc., 634 F.3d at 1350). Here,

10    however, Plaintiffs have again failed to identify any activity that they allege has been chilled by

11    the Department’s State Action, let alone a constitutionally protected activity. Dismissal under

12    Rule 12(b)(6) is appropriate where, as here, a complaint lacks a cognizable legal theory or facts

13    sufficient to support a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,

14    699 (9th Cir. 1990).

15          D.    Plaintiffs Fail to State a Claim for Relief Under the Equal Protection
                  Clause for Either Religious or National Origin Discrimination
16

17          To state a Section 1983 claim for a violation of the Equal Protection Clause, a plaintiff

18    “must show that the defendants acted with an intent or purpose to discriminate against the

19    plaintiff based upon membership in a protected class,” and that plaintiff was treated differently

20    from persons similarly situated. Barren, 152 F.3d at 1194 (citing Washington, 426 U.S. at 239-

21    40). A plaintiff may satisfy this showing by alleging four separate elements: (1) the plaintiff was

22    treated differently from persons similarly situated; (2) this unequal treatment was based on an

23    impermissible classification; (3) the defendant acted with discriminatory intent in applying this

24    classification; and (4) the plaintiff suffered injury as a result of the discriminatory classification.

25    Lam v. City & Cnty. of S.F., 868 F. Supp. 2d 928, 951 (N.D. Cal. 2012), aff’d, 565 F. App’x 641

26    (9th Cir. 2014) (citing Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979)). Plaintiffs do

27    not sufficiently allege any of the four required elements to plead a viable equal protection claim

28    for discrimination based on either religion or national origin. Moreover, even if Mr. Iyer and Mr.
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 1    Kompella could plead a cognizable equal protection claim—they cannot—the crux of their

 2    complaint is that they should not have been charged as defendants in CRD v. Cisco, which is not a

 3    matter well-suited for judicial review. See United States v. Armstrong, 517 U.S. 456, 465 (1996)

 4    (citing Wayte v. United States, 470 U.S. 598, 608 (1985)).

 5                1.     All Plaintiffs fail to state a claim for discrimination on the basis of
                         religion
 6

 7          As addressed above, none of the Individual Plaintiffs have pled facts sufficient to establish

 8    that the Department has treated them differently from other similarly situated persons on the basis

 9    of their religion, nor that they have suffered a cognizable injury-in-fact as a result. (See supra at

10    18-19). In fact, the only two Individual Plaintiffs who have ever been subject to the Department’s

11    efforts to enforce the FEHA—former CRD v. Cisco defendants, Mr. Iyer and Mr. Kompella—are

12    admittedly of different faiths. Mr. Iyer does not practice an organized religion and Mr. Kompella

13    practices Hinduism. (ECF No. 21 ¶¶ 15, 17). And, as an organization, HAF cannot plead a

14    cognizable claim for discrimination on the basis of religion absent evidence that its individual

15    members have faced such discrimination. (See Section II.B.2, supra at 24-27). For example,

16    Plaintiffs’ FAC does not identify any similarly situated individuals who have been treated

17    differently on the basis of religion, nor what that treatment might be. This is insufficient to

18    establish a claim under the Equal Protection Clause.

19          Critically, Plaintiffs also have not demonstrated that Defendant Kish, acting in his official

20    capacity as the Department’s Director, has acted with discriminatory intent or purpose in any

21    way. (See supra at 18-20). In the equal protection context, this is the “fundamental question.”

22    Lam, 868 F. Supp. 2d at 951. Discriminatory purpose “implies more than intent as volition or . . .

23    awareness of consequences. It implies that the decision-maker . . . selected or reaffirmed a

24    particular course of action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects

25    upon an identifiable group.” Pers. Adm’r of Mass., 442 U.S. at 279 (internal citation omitted).

26    “[D]etermining the existence of a discriminatory purpose ‘demands a sensitive inquiry into such

27    circumstantial and direct evidence of intent as may be available.’” Rogers v. Lodge, 458 U.S.

28    613, 618 (1982) (quoting Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266,
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 1    (1977); citing Washington, 426 U.S. at 242). As evidenced by the Department’s State Action, its

 2    actions are—and have always been—intended to stop and to remedy unlawful discrimination

 3    against Cisco’s workers. (See ECF No. 21, Exh. A; Munson Decl., Exh. C). Plaintiffs simply

 4    cannot establish the required discriminatory intent.

 5                2.    Mr. Iyer and Mr. Kompella fail to state a claim for discrimination on
                        the basis of national origin
 6

 7          To establish a claim for discrimination on the basis of national origin, the plaintiff must

 8    show that similarly situated individuals of a different national origin were not prosecuted, and that

 9    the defendant’s actions were motivated by a discriminatory purpose. See Lam, 868 F. Supp. 2d at

10    951. As discussed above, Mr. Iyer has not alleged that he has been treated differently to anyone

11    who is similarly situated on the basis of their national origin. (See supra at 19-20; see also ECF

12    No. 21 ¶¶ 15-16, 20). Mr. Kompella has complained, in conclusory fashion, that the Department

13    named him in the State Action instead of a non-Indian supervisor. (ECF No. 21 ¶ 18). But even

14    this does not state a claim under the Equal Protection Clause.

15          Mr. Kompella contends that the Department erred factually in alleging that Mr. Kompella

16    required weekly reports from Mr. Narsude when, according to Mr. Kompella, it was Mr. Edwall

17    who did this. (Id.) At most, however, this is an allegation that Department’s factual allegation in

18    the State Action is wrong. And, even accepting Mr. Kompella’s allegation as true for purposes of

19    this motion, he has not alleged that the Department made this factual error based on any

20    discriminatory animus against Mr. Kompella’s national origin, nor that he and Mr. Edsall were

21    similarly situated. Thus, Mr. Kompella, like Mr. Iyer, has failed to allege a cognizable equal

22    protection claim based on national origin. Indeed, neither Mr. Iyer nor Mr. Kompella have

23    alleged facts that show Director Kish has acted with discriminatory intent or purpose in any way

24    with regard to their national origin. (See ECF No. 21 ¶¶ 129-130). Such a “threadbare recital[] of

25    the elements of a cause of action, supported by mere conclusory statements, do[es] not suffice.”

26    Iqbal, 556 U.S. at 678.

27          Further, the crux of Mr. Iyer’s and Mr. Kompella’s claim is a complaint about the

28    Department’s charging strategy in CRD v. Cisco. But courts are properly hesitant to review such
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 1    matters that fall within prosecutorial discretion. See Armstrong, 517 U.S. at 465 (citing Wayte,

 2    470 U.S. at 608 (1985)). For example, in reviewing selective prosecution claims under the Fifth

 3    Amendment, courts require criminal defendants to provide clear evidence that a “prosecutorial

 4    policy ‘had a discriminatory effect and was motivated by a discriminatory purpose.’” Id. (quoting

 5    Wayte, 470 U.S. at 608). And courts are particularly disinclined to review such matters where, as

 6    here, plaintiffs “ask[] a court to exercise judicial power over a ‘special province’” of the

 7    executive branch. Armstrong, 517 U.S. at 464 (quoting Heckler v. Chaney, 470 U.S. 821, 832

 8    (1985)). Prosecutors enjoy the “presum[ption] that they have properly discharged their official

 9    duties,” absent “clear evidence to the contrary” because they are acting under constitutional

10    authority. Id. (quoting United States v. Chem. Found., Inc., 272 U.S. 1, 14-15 (1926)). And

11    courts are ill-equipped to review prosecutorial charging decisions. Id. at 465 (quoting Wayte, 470

12    U.S. at 607) (“Such factors as the strength of the case, the prosecution’s general deterrence value,

13    the [g]overnment’s enforcement priorities, and the case’s relationship to the [g]overnment’s

14    overall enforcement plan are not readily susceptible to the kind of analysis the courts are

15    competent to undertake.”); accord United States v. Bourgeois, 964 F.2d 935, 939-40 (9th Cir.

16    1992). Moreover, examining prosecutorial decisions risks “delay[ing] . . . proceeding[s],”

17    “chill[ing] . . . enforcement,” and “undermin[ing] prosecutorial effectiveness.” Id. These policy

18    considerations are equally present here.

19          As discussed above, the Department is charged with enforcing California’s civil rights laws,

20    including the FEHA, which the Legislature has declared to be “an exercise of the police power of

21    the state for the protection of the welfare, health, and peace of the people of [California].” Gov’t

22    Code § 12920. Accordingly, courts have acknowledged that, like criminal prosecutors, the

23    Department “‘is a public prosecutor testing a public right,’ when it pursues civil litigation to

24    enforce statutes within its jurisdiction.” Law Sch. Admissions Council, Inc., 941 F. Supp. 2d at

25    1168 (quoting State Pers. Bd., 39 Cal. 3d at 444). Thus, even if any of the Plaintiffs could craft

26    plausible equal protection allegations—and they cannot—this matter and the remedy that

27    Plaintiffs seek are not well-suited for judicial review.

28
                                                        38
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 1          In sum, Plaintiffs have not stated a viable claim for relief under the Equal Protection Clause

 2    for discrimination based on religion or national origin, a defect that cannot be reasonably

 3    remedied.

 4                                              CONCLUSION
 5          For the reasons discussed above, Defendant Kish respectfully asks that this Court dismiss

 6    Plaintiffs’ complaint in its entirety and without prejudice pursuant to the Younger abstention

 7    doctrine or Rule 12(b)(1) or, in the alternative, dismiss Plaintiffs’ complaint with prejudice

 8    pursuant to Rule 12(b)(6).

 9           Plaintiffs need not be afforded another opportunity to amend their complaint. Plaintiffs

10    were given leave to amend their complaint in August 2023 and failed to cure their pleading

11    deficiencies, demonstrating the futility of any further amendment. See Brown v. Stored Value

12    Cards, Inc., 953 F.3d 567, 574 (9th Cir. 2020) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

13    Courts should dismiss a party’s claim without leave to amend where amendment would be futile.

14    Carrico v. City & Cnty. of S.F., 656 F.3d 1002, 1008 (9th Cir. 2011); see also Schreiber Distrib.

15    Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986) (Court should deny a party

16    leave to amend when it can allege no “other facts consistent with the challenged pleading” that

17    could “cure the deficiency.”).

18    Dated: May 20, 2024                                    Respectfully submitted,
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